                                                            Case 2:19-cv-02850-DMG-JC Document 16 Filed 06/20/19 Page 1 of 2 Page ID #:50




                                                                 1   HYUNSUK ALBERT CHANG (SBN 206270)
                                                                     Email: albertchang@aclawfirm.net
                                                                 2   GRACE H. JANG (SBN 302640)
                                                                     Email: gracejang@aclawfirm.net
                                                                 3   LAW OFFICES      OF ALBERT CHANG
                                                                     1225 W. 190th Street, Suite 420
                                                                 4   Gardena, CA 90248
                                                                     Telephone: (310) 769-6836
                                                                 5   Facsimile: (310) 769-6787
                                                                 6
                                                                     Attorneys for Plaintiff TEXKHAN, INC.,
                                                                 7   a California Corporation, d/b/a HYUP SUNG T.R.D.
                                                                 8

                                                                 9                       UNITED STATES DISTRICT COURT
                                                                10                     CENTRAL DISTRICT OF CALIFORNIA
                                                                11
                                                                     TEXKHAN,INC., a California             )      Case No.: 2:19-cv-02850-DMG-JC
LAW OFFICES OF ALBERT CHANG




                                                                12   Corporation, individually and doing    )
                              1225 W. 190th Street, Suite 420




                                                                     business as HYUP SUNG T.R.D.,
                                Gardena, California 90248




                                                                13
                                                                                                            )      Honorable Judge Dolly M. Gee
                                                                                                            )
                                                                               Plaintiff,
                                     (310) 769-6836




                                                                14
                                                                                                            )
                                                                     v.                                     )      NOTICE OF SETTLEMENT
                                                                15
                                                                                                            )      AS TO DEFENDANT BIZZ, INC.,
                                                                                                            )      D/B/A EN CREME
                                                                16   EN CRÈ ME, an unknown business entity; )
                                                                     POSHMARK, INC., a Delaware             )
                                                                17   Corporation, doing business as         )
                                                                     POSHMARK; PROMGIRL, LLC, a New )
                                                                18   York Limited Liability Company, doing )
                                                                     business as THISGIRL; and DOES 1       )
                                                                19   through 50,                            )
                                                                                                            )
                                                                20             Defendants.                  )
                                                                21

                                                                22
                                                                           TO THE HONORABLE COURT:
                                                                23
                                                                           PLEASE TAKE NOTICE that Plaintiff TEXKHAN, INC., d/b/a HYUP
                                                                24
                                                                     SUNG T.R.D. (“Plaintiff”) hereby notifies the Court that Plaintiff and Defendant
                                                                25
                                                                     BIZZ, INC., d/b/a EN CRÈ ME have reached a settlement in this action. Defendant
                                                                26
                                                                     agrees to make periodic payments of which the last payment is due by August 15,
                                                                27
                                                                     2019. Plaintiff agrees to dismiss Defendant with prejudice within ten (10) business
                                                                28

                                                                     ______________________________________________________________________________
                                                                        NOTICE OF SETTLEMENT AS TO DEFENDANT BIZZ, INC., D/B/A EN CRÈ ME
                                                                                                          -1-
                                                            Case 2:19-cv-02850-DMG-JC Document 16 Filed 06/20/19 Page 2 of 2 Page ID #:51




                                                                 1   dates of receipt of the last payment from Defendant, i.e., August 25, 2019. Each
                                                                 2   party agrees to bear its own fees and costs.
                                                                 3         As such, Plaintiff requests that this Honorable Court vacate the OSC
                                                                 4
                                                                     currently set for June 24, 2019.
                                                                 5

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                                                                                                              Respectfully submitted,
                                                                 7
                                                                     Date: June 20, 2019                      LAW OFFICES OF ALBERT CHANG
                                                                 8

                                                                 9                                      By:   /s/ Hyunsuk Albert Chang
                                                                10
                                                                                                              Hyunsuk Albert Chang
                                                                                                              Grace H. Jang
                                                                11                                            Attorneys for Plaintiff
LAW OFFICES OF ALBERT CHANG




                                                                12                                            Texkhan, Inc., d/b/a Hyup Sung T.R.D.
                              1225 W. 190th Street, Suite 420
                                Gardena, California 90248




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                                     (310) 769-6836




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                                                                        NOTICE OF SETTLEMENT AS TO DEFENDANT BIZZ, INC., D/B/A EN CRÈ ME
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